                           United States District Court
                         Western District of North Carolina
                                Charlotte Division

        Whirlpool Corporation          )              JUDGMENT IN CASE
       Whirlpool Properties, Inc.
       Maytag Properties, LLC,
                                       )
              Plaintiff(s),            )             3:17-cv-00601-FDW-DCK
                                       )
                  vs.                  )
                                       )
           Filters Fast, LLC,          )
             Defendant(s).             )

 DECISION BY COURT. This action having come before the Court at Jury Trial and a verdict
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Jury’s March 13, 2019 Verdict.

                                                March 18, 2019




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